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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CHRISTOPHER MANSOORI                                 )
                                                     )       Case No. 22-cv-1635
       Plaintiff,                                    )
                                                     )       Magistrate Judge Jeffrey T. Gilbert
v.                                                   )
                                                     )
SERGEANT WILLIAMS, et al.,                           )
                                                     )
       Defendants.                                   )


                                   JOINT STATUS REPORT


       Plaintiff, Christopher Mansoori (“Plaintiff”), Pro Se and Defendant Sergeant Williams,

by his attorneys Jason E. DeVore and Troy S. Radunsky of DeVore Radunsky LLC in relation

to this Court’s order (Dkt. 34.) submit the following Joint Status Report regarding status of

discovery:

                                      Summary and Background

       Plaintiff recently terminated his attorney and is proceeding in this matter pro se. This

Court denied Defendant’s motion Motion to Dismiss on May 20, 2023. Defendant filed his

answer on June 13, 2023.

                                   Discovery Status and Deadlines

       Fact discovery is scheduled to close on December 7, 2023. As discussed below, based

upon the new incoming counsel for Defendant, the status of written discovery, the number of

depositions to be taken, the extremely high, settlement demand received on October 24, 2023,

and ongoing discovery in 14 other pending cases filed by plaintiff (and 7 resolved cases) it would

be prudent to extend the close of fact discovery until May 31, 2024.

       Both parties have answered interrogatories. Defendant’s counsel has advised plaintiff

that defendant is working diligently to respond to request to produce and the potential need for



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extending the fact discovery deadline was discussed in the parties’ August 11, 2023 Joint Status

Report. Dkt #35.

       On September 19, 2023, the law firm DeVore Radunsky appeared as new counsel of

record for Defendant Williams. Three days later, on September 22, 2023 the parties participated

in a discovery status conference and discussed the prospect of settlement. On October 19, 2023,

the parties participated in a discovery status conference. During the October 19 conference the

parties briefly discussed plaintiff’s termination of his private attorney. Plaintiff requested a

logbook regarding legal mail delivery, however, this document is not in the possession or control

of Defendant Williams.

                                              Depositions

       The following witnesses are expected to be deposed in this matter, based upon

information reviewed to date:

   •   Plaintiff

   •   Defendant Sgt. Williams

   •   Ofc. M. Miskell

   •   Sgt. Dabrowski

   •   Several unidentified Cook County Sheriff’s Correctional Officers

   •   Several unidentified Cook County medical personnel

                                        Settlement Discussions

       On October 24, 2023, Defendant’s counsel learned that plaintiff has now demanded

$7,450,000 to resolve nine cases, including this case. Settlement does not appear to be

viable at this time.



                                             Respectfully Submitted,

                                             DeVore Radunsky LLC

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                                         By:     /s/ Jason E. DeVore_____
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                                     CERTIFICATE OF SERVICE

         The undersigned, an attorney, hereby certifies that the above JOINT STATUS REPORT, was
filed on October 24, 2023, with the Northern District of Illinois ECF System, serving a copy on all parties.

                                                 /s/ Zachary G. Stillman________




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